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 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-20-00626-001-PHX-DWL
10                 Plaintiff,                         ORDER
11   v.
12   Brannen Sage Mehaffey,
13                 Defendant.
14
15         The Court is in receipt of an Ancillary Petition Claiming Interest in Forfeited
16   Property filed by Donald E. Merritt on February 23, 2022 (Doc. 89). As of this date
17   Government’s counsel has failed to file a response.
18         IT IS ORDERED directing Government’s counsel to file a response to the petition
19   no later than 5:00 p.m., March 17, 2022.
20         Dated this 15th day of March, 2022.
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